

Matter of Keziah R. (2020 NY Slip Op 07474)





Matter of Keziah R.


2020 NY Slip Op 07474


Decided on December 10, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 10, 2020

Before: Friedman, J.P., Kapnick, Webber, Kern, Singh, JJ. 


Docket No. D-28464/19 Appeal No. 12582 Case No. 2020-00132 

[*1]In the Matter of Keziah R., A Person Alleged to be a Juvenile Delinquent, Appellant, Presentment Agency


Dawne A. Mitchell, The Legal Aid Society, New York (Raymond E. Rogers of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Deborah E. Wassel of counsel), for presentment agency.



Appeal from order of disposition, Family Court, Bronx County (Alma M. Gomez, J.), entered on or about December 19, 2019, which, upon appellant's admission that she committed an act that, if committed by an adult, would constitute the crime of criminal mischief in the fourth degree, adjudicated her a juvenile delinquent and placed her on level one probation for a period of 12 months, unanimously dismissed, without costs, as moot.
This appeal is moot because the order has been vacated and superseded by a subsequent order of disposition, which, on the parties' consent, placed appellant on a 12-month term of unspecified probation (see Matter of Kyshawn J., 158 AD3d 440 [1st Dept 2018]). In any event, the court providently exercised its discretion by placing
appellant on probation rather than granting an adjournment in contemplation of dismissal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 10, 2020








